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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 THE BOARD OF TRUSTEES OF THE
 UNIVERSITY OF ILLINOIS,                          Case No. 1:21-cv-06546

                        Plaintiff,                The Honorable John R. Blakely

         v.

 VINTAGE BRAND, LLC,

                        Defendant.


                                     NOTICE OF FILING

TO:       Andrew L. Goldstein, Esq., D. Richard Self, Esq., and Jeffrey J. Catalano, Esq.
                                    Freeborn & Peters LLP
                             311 South Wacker Drive, Suite 3000
                                    Chicago, Illinois 60606
         Email: agoldstein@freeborn.com; rself@freeborn.com; jcatalano@freeborn.com

       PLEASE TAKE NOTICE that on this 23rd day of March, 2022, we filed with the Clerk
of the United States District Court, Northern District of Illinois, Eastern Division, a Notice of
Withdrawal of Defendant Vintage Brand, LLC’s Motion to Dismiss Plaintiff’s First
Amended Complaint in Part and to Strike a copy of which is hereby served upon you.

                                                     /s/ Theresa H. Wang
State of Illinois      )
                       ) SS
County of Cook         )
                                     PROOF OF SERVICE

      I hereby certify that on the above date, I electronically filed with the Clerk of the
U.S. District Court, Northern District of Illinois, Eastern Division, the foregoing by using the
CM/ECF system, which will send notification of such filing(s) to all counsel of record.


                                                     /s/ Theresa H. Wang
Theresa H. Wang
(pro hac vice)
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